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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                              ATHENS DIVISION

UNITED STATES OF AMERICA                            :
                                                    :
       v.                                           :
                                                    :      No. 3:22-CR-09-CAR-CHW-16
SARAH SIMS,                                         :
A/K/A ASHLEY LOUDERMILK,                            :
                                                    :
       Defendant.                                   :
                                                    :

            ORDER ON UNOPPOSED MOTION TO CONTINUE TRIAL

       Before the Court is Defendant Sarah Sims’s Unopposed Motion to Continue [Doc.

176] the pretrial hearing set for July 21, 2022, and the trial of this case which is set to begin

on August 8, 2022, in Athens, Georgia. On April 12, 2022, the Grand Jury returned a multi-

defendant, multi-count indictment charging Defendant with conspiracy to possess with

intent to distribute methamphetamine and possession with intent to distribute

methamphetamine. Defendant was arrested on June 8, 2022. On June 16, 2022, Defendant

was appointed counsel, pled not guilty at her arraignment, and was ordered detained

pending trial. The Government does not oppose Defendant’s current request.

       In the Motion, defense counsel represents that additional time is needed to obtain

and review discovery. Having considered the matter, the Court finds it serves the ends

of justice to grant the parties adequate time to address these matters. The ends of justice

served by granting a continuance outweigh the interests of Defendant and the public in


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a speedy trial. Failure to grant a continuance would deny counsel reasonable time for

effective preparation and could result in a miscarriage of justice. Thus, Defendant’s

Unopposed Motion to Continue Trial [Doc. 176] is GRANTED, and IT IS HEREBY

ORDERED that this case be continued until October 24, 2022, the next term of Court for

the Athens Division. The delay occasioned by this continuance shall be deemed

excludable pursuant to the provisions of the Speedy Trial Act, 18 U.S.C. § 3161.

      SO ORDERED, this 8th day of July, 2022.

                                         S/ C. Ashley Royal          ___
                                         C. ASHLEY ROYAL, SENIOR JUDGE
                                         UNITED STATES DISTRICT COURT




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